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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                                       CASE NO. 18-61297-CIV-DIMITROULEAS

  CANDICE PATTI,

         Plaintiff,

  v.

  CREDIT COUNSEL, INC,

        Defendant.
  ____________________________________/

                                    ORDER TO SHOW CAUSE

         THIS CAUSE is before the Court sua sponte.

         On August 28, 2018, the Court issued an Order [DE 11] directing the parties to agree

  upon a mediator within fourteen (14) days and to advise the Clerk’s office of their choice. From

  the record, it appears that the parties have not yet selected a mediator.

         Accordingly, it is ORDERED AND ADJUDGED that the parties shall file a response to

  this Order to Show Cause by November 21, 2018, showing cause why the Clerk should not be

  directed to randomly select a mediator from the list of certified mediators. Failure to comply with

  this Order will result in the Clerk selecting a mediator at random.

         DONE AND ORDERED in Chambers at Fort Lauderdale, Broward County, Florida,

  this 14th day of November, 2018.




  Copies furnished to:
  Counsel of Record
